

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-79,179-01






ERNESTO HULL, Relator


v.


HARRIS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 1129132 IN THE 208TH DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 208th District Court of Harris County, that more than 35 days have elapsed, and that the
application has not yet been forwarded to this Court.

	In these circumstances, additional facts are needed.  Respondent, the District Clerk of Harris
County, is ordered to file a response, which may be made by submitting the record on such habeas
corpus application, submitting a copy of a timely filed order which designates issues to be
investigated (see McCree v. Hampton, 824 S.W.2d 578, 579 (Tex. Crim. App. 1992)), or stating that
Relator has not filed an application for a writ of habeas corpus in Harris County.  Should the
response include an order designating issues, proof of the date the district attorney's office was
served with the habeas application shall also be submitted with the response.  This application for
leave to file a writ of mandamus shall be held in abeyance until Respondent has submitted the
appropriate response.  Such response shall be submitted within 30 days of the date of this order.



Filed:  April 3, 2013

Do not publish	


